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                     [N THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )


               V.                            )       CR 112-242
                                             )


ADRIAN DIAZ-FONSECA                          )
JOSE RIVEA MONTANO


                                       ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. nos. 201,

202).' Accordingly, the Report and Recommendation of the Magistrate Judge is ADOPTED

as the opinion of the Court. Therefore, Defendants Diaz-Fonseca's and Montano's

preliminary motions to suppress are MOOT, (doe. nos. 127, 128), and their particularized

motions to suppress are DENIED, (doe. nos. 139, 140).

       SO ORDERED this j9ay of June, 201-3-at-4ugusta. Georgia.




                                                   LE J. Rk'NDAL HALL
                                                 STATES DISTRICT JUDGE
                                                 RN DISTRICT OF GEORGIA




       'Defendants were granted an extension of time in which to object to the Report and
Recommendation. (Doc. nos. 199,200.) The government also filed a response in opposition
to Defendants' objections. (Doe. no. 203.)
